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 5
   Attorneys for Plaintiff
 6 United States of America

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                               CASE NO. Cr 1:10-cr-00173 AWI-
                                                             BAM
12                                 Plaintiff,
                                                             STIPULATION REGARDING NEW
13                  v.                                       TIME SETTING; ORDER
14   MANUEL VASQUEZ,
                                   Defendant.
15

16
                                                STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
19
20          1.       By previous order, this matter was set for sentencing on Monday, May 13, 2013, at

21 1:00 p.m.

22          2.       By this stipulation, the parties request that the matter be continued for sentencing on
23
     May 20, 2013, at 10 a.m.
24
     ////
25
     ////
26

27 ////

28 IT IS SO STIPULATED.
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            Case 1:10-cr-00173-JLT Document 155 Filed 05/07/13 Page 2 of 2



 1 DATED:       May 6, 2013.      Respectfully submitted,
 2                                BENJAMIN B. WAGNER
                                  United States Attorney
 3

 4                                /s/ Karen A. Escobar___________________
                                  KAREN A. ESCOBAR
 5                                Assistant United States Attorney
 6 DATED:       May 6, 2013.
 7                                /s/ Carl M. Faller _____________
                                  CARL M. FALLER
 8                                Counsel for Defendant Manuel Vasquez
 9

10                                       ORDER
11

12 IT IS SO ORDERED.

13 Dated: May 6, 2013

14                                      SENIOR DISTRICT JUDGE
                                             DEAC_Signature-END:




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